                                                   U.S. Department of Justice

                                                   United States Marshals Service

                                                   Attn: Katrina Burch, Inv. Analyst
                                                   719 Church Street, Suite 2500
                                                   Nashville, TN 37203


                                                   August 30, 2024

Brian Kelsey
USMS #: 72146-509
Case No. 3:2021-cr-00264

RE: NOTICE OF DESIGNATION


Mr. Kelsey,

     This letter is to advise you that the Bureau of Prisons has designated you FCI
ASHLAND SATELLITE CAMP, STATE ROUTE 716, ASHLAND, KY 41105 to serve
the sentence ordered by the United States District Court, Middle District of Tennessee
in

         You are to report to FCI ASHLAND SATELLITE CAMP, no later than 2:00 PM,
Tuesday, October 1, 2024. You may find information regarding your designation
facility at www.bop.gov/locations.

        If you are unable to turn yourself into the designated Bureau of Prisons facility,
you may turn yourself into the closest U.S. Marshals Service Office. Please be advised
that failure to report for the service of your sentence as ordered by the court could result
in an additional charge.

        Please feel free to call our office should you need any further assistance. Our
office number is (615) 750-1434.




                                                 Denny W. King
                                                 U. S. Marshal



                                                 Katrina Burch
                                                 Investigative Analyst




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